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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION




HH ST. LOUIS RAILWAY LP,
 MISSOURI DEVELOPMENT
FINANCE BOARD,and RAILWAY                        Case No.4:18-cv-01132 JAR
EXCHANGE OWNER,LLC,

                  Plaintiffs,


                                                 STIPULATION OF DISMISSAL
 AFFILIATED FM INSURANCE                         WITH PREJUDICE PURSUANT TO
COMPANY,                                         FEDERAL RULE OF CIVIL
                                                 PROCEDURE 41(a)(1)
                 Defendant.




        Pursuant to Federal Rule of Civil Procedure 41(a)(1), it is hereby stipulated by

and between Plaintiffs HH ST. LOUIS RAILWAY LP, MISSOURI DEVELOPMENT

FINANCE BOARD,and RAILWAY EXCHANGE OWNER,LLC,and Defendant

AFFILIATED FM INSURANCE COMPANY that this action shall be voluntarily

dismissed with prejudice, with each party bearing its respective costs and attorneys'

fees.
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                                       Respectfully subrpitted,
Dated:                                ROBIKS IAPLA: 1.LP


                                            Scott G.Johiison
                                      2800 LaSalle Plaza
                                      800 LaSalle Avenue
                                      Minneapolis, MN 55402
                                     (612) 349-8265 Telephone
                                     (612) 339-4181 Facsimile
                                      Sfohnson@robiiiskaplan.com

                                      TUCKER ELLIS LLP
                                      Sandra J. Wunderlich #39019MO
                                      100 South 4th Street, Suite 600
                                      St. Louis, MO 63102
                                     (314)256-2544 Telephone
                                     (314)256-2549 Facsimile
                                      Sandra.WundcrIicli@tuckerelIis.com


                                      Attorneysfor Defendant AffiUnted FM
                                      Insurance Company

Dated: ^                              ROSENBLUM GOLDENHERSH,P.O.



                                              irey B. Hunt #33349MO
                                      7733 Forsyth Boulevard,4th Floor
                                      St. Louis, Missouri 63105
                                      Tel:(314) 726-6868
                                      Fax:(314) 726-6786
                                      ihunt@rosenblunigoldenhersh,com

                                      REED SMITH,LLP
                                      John N. Ellison
                                      Three Logan Square
                                     1717 Arch Street, Suite 3100
                                     Philadelphia, Pennsylvania 19103
                                     Tel:(215)851-8100
                                     Fax:(215)851-1420
                                     ieIlison@reedsmith.com
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                                      BLANK ROME LLP
                                      Linda D. Kornfeld
                                      2029 Cenhiry Park East
                                      Suite 2000N
                                      Los Angeles,California 90067
                                      lkornfeld@blankrome.com


                                      Attorneysfor Plaintiffs




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